Case: 1:19-cr-00226 Document #: 179 Filed: 11/24/20 Page 1 of 3 PageID #:700




     4"u Vi,q ipir                  [/a^ro,o.-tl                         FILED
     U
         ^,
              i{   ed   *L+",       Dis{"i.--l kw+                            Nov 2 4 zozoEs
     Er*th,n Dts+"            ff)   Tlllrrois
                                                                          TTIOMASG' BRUTON
     2|1           Sou-lh Dro" rborN               S{"r}              o-enr, u.s. DlsrRlcr couRT
         h,tr--1o, ILLiuois                   bOt ot4



                   Req--r-l   {""       hu-r;uq
                   tq D.r z26- l                       C

     D*. fa*                    Yepoa;l            :




                    T o"U'" q- hror i u6 oN Jhe (rtl"-;"3 wofious ,
 lrZ
              Ml ol,ou   .1-    S.k      1 R"loLJ            bn b ., pl.,.s
 |
     '
 l,           ilrl;o* +.        urndp"ll           u,i*hdr^,,l o/' fr*ni Ch;phe
 lz. Sp""Jr1
       tr+,.'u
              Tri*l Demq.r)D
 l*. n         +" D i , rn is s Tuo i..t fioNT
     Mr*,ont +" R/iusTn-rLSoxto
 It
                    a-,tz
 I




 lu::                           fio'o't

 [U" y',,11*N)
  52527'L+a4
                                                           tulh,uy*t
                                                                <-)
                                                                         Ln'nt

 11
 lg, N Vp,, $urn, Sl ,""1
                    bows
 lu,*ijr,tuci,tois
Case: 1:19-cr-00226 Document #: 179 Filed: 11/24/20 Page 2 of 3 PageID #:701
Case: 1:19-cr-00226 Document #: 179 Filed: 11/24/20 Page 3 of 3 PageID #:702
